Case 1:24-cv-03109-JLR   Document 168-1   Filed 08/26/24   Page 1 of 7




                         EXHIBIT A
      Case 1:24-cv-03109-JLR              Document 168-1     Filed 08/26/24     Page 2 of 7




                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 FEDERAL TRADE COMMISSION,

                             Plaintiff,

           v.

 TAPESTRY, INC.,                                                Case No. 1:24-cv-03109-JLR

          and

 CAPRI HOLDINGS LIMITED.

                             Defendants.



                 STIPULATED AND PROPOSED PRE-HEARING ORDER

       In advance of the preliminary injunction hearing scheduled for September 9, 2024,

Plaintiff Federal Trade Commission (“FTC” or “Plaintiff”) and Defendants Tapestry, Inc.

(“Tapestry”) and Capri Holdings Limited (“Capri”), jointly submit, and stipulate to, this

Proposed Pre-Hearing Order.

           A. Opening Statements. The parties respectfully request the opportunity to present

                opening statements of no more than 45 minutes per side, with any time used by a

                party during its opening statement not counting against the time allocated to that

                side. The FTC takes no position as to whether or how Defendants shall allocate

                their time between each Defendant.




                                                  1
Case 1:24-cv-03109-JLR        Document 168-1         Filed 08/26/24       Page 3 of 7




    B. Witness Sequestering. Fact witnesses shall be sequestered and not listen to other

       fact testimony, except for one party representative per Defendant who may attend

       the entire hearing. Expert witnesses will not be sequestered and may listen to fact

       witness testimony.

    C. Party Representative. On or before Friday September 6, 2024, at 5:00 PM ET,

       Defendants will identify one officer or employee per Defendant whom they

       propose to serve as that party’s representative at counsel table for the duration of

       the hearing. Defendants may substitute their respective party representatives

       during the hearing and shall give notice no later than 5:00 PM ET the day before.

    D. Video Deposition Designations. The parties will exchange their designations for

       any video deposition testimony that they wish to present during the evidentiary

       hearing by the dates provided in the Case Management and Scheduling Order (the

       “CMSO”), Dkt. No. 71. After the exchange of those designations, the parties will

       meet and confer to minimize any disputes for the Court to resolve. Subject to the

       Court’s preferences, the parties propose submitting any remaining objections or

       disputes regarding the designations each side intends to play during its case by

       letter to the Court no later than 5:00 PM ET two days before the date on which

       they are anticipated to be presented.

    E. Witnesses Called by All Parties. If both sides intend to call a witness live, that

       witness will testify only once and will be fully examined by both sides. Live

       witnesses on both sides’ witness lists will testify during Plaintiff’s case-in-chief.

       They will first testify in response to Plaintiff’s questions and then in response to

       Defendants’ questions. Witnesses testifying by video deposition designations will



                                          2
Case 1:24-cv-03109-JLR       Document 168-1         Filed 08/26/24      Page 4 of 7




       be played once, with witnesses on both side’s witness lists testifying during

       Plaintiff’s case-in-chief. The video deposition designations from both sides will

       be played in the order that the testimony was provided.

    F. Sealing of Hearing Exhibits and the Courtroom During the Hearing. The

       parties agree to the following process:

          1. As set forth in the CMSO, Dkt. 71, the parties shall exchange exhibit lists

              and designations on August 23, 2024. The parties shall advise non-parties

              on August 23, 2024 of any exhibits on their respective exhibit lists

              containing information designated as Confidential Information.

          2. To facilitate sealing discussions and to avoid unnecessary burden on the

              parties, non-parties, and the Court, the parties will identify by August 26,

              2024 up to 300 exhibits from their respective exhibit lists that each side

              has a good faith basis to believe are likely to be used during direct

              examinations at the preliminary injunction hearing (“Potential

              Examination List”). The parties agree to meet and confer and attempt to

              resolve all confidentiality and evidentiary disputes with respect to the

              Potential Examination List in advance of the hearing by the deadlines set

              forth in the CMSO, Dkt. 71, and to jointly submit to the Court any

              remaining disputes about admissibility and confidentiality of the Potential

              Examination List by 5:00 PM ET on September 4, 2024.

          3. During the hearing, each party will identify the sequence of anticipated

              witnesses 48 hours before each hearing day at 9:00 AM ET.




                                        3
     Case 1:24-cv-03109-JLR       Document 168-1         Filed 08/26/24      Page 5 of 7




                4. To the extent any party expects to use exhibits containing Confidential

                   Information during direct examinations not previously disclosed on their

                   side’s Potential Examination Lists, the parties must disclose those exhibits

                   to the other side and to any impacted nonparties no later than 40 hours

                   before each hearing day, at 5:00 PM ET, two days before the witness’s

                   anticipated testimony day. If any exhibits containing Confidential

                   Information of a non-party are identified, the party proposing to use the

                   exhibit shall notify the non-party at the same time to the extent notification

                   was not previously provided.

                5. After disclosures in F.4 have been made, if the parties are not able to reach

                   agreement, the party or nonparty seeking sealing must file a motion by

                   5:00 PM ET the day prior to the witness being called.

                6. All parties will also identify any demonstratives to be used with its

                   witnesses by 5 PM ET the day before the witness’s anticipated testimony.



SO ORDERED, this ___ day of August, 2024.



                                                  ______________________________
                                                  HON. JENNIFER L. ROCHON




                                             4
     Case 1:24-cv-03109-JLR   Document 168-1    Filed 08/26/24     Page 6 of 7



Dated: August 26, 2024               Respectfully submitted,


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                                      5
Case 1:24-cv-03109-JLR   Document 168-1    Filed 08/26/24    Page 7 of 7




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                                 6
